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                           IN THE UNITED STATES DISTRICT COURT
                            FORTHE SOUTHERNDISTRICTOF OHIO
                              WESTERNDIVISIONAT DAYTON


ERICABARGA, et al.,
                                                            CaseNo. 3:21cv27
                         Plaintiffs,
        vs.                                                 JUDGEWALTERH. RICE

VILLAGE OF ST. PARIS, OHIO, et al.,

                         Defendants.



                                                   ORDER




        It is hereby ordered thatthe above captioned cause beadministratively processed.'
        IT IS SO ORDERED.


                                                      d^         t(
        July 13, 2022                              WALTER H. RICE
                                                   UNITEDSTATES DISTRICTJUDGE




' Stayedpursuant to the June 1, 2022 conference call between Court andcounsel andthis Court's Entry ofJuly 13,
2022.
